
65 So. 3d 122 (2011)
Jody POSEY, Appellant,
v.
STATE of Florida, Appellee.
No. 1D10-1417.
District Court of Appeal of Florida, First District.
June 30, 2011.
Nancy A. Daniels, Public Defender, and Richard M. Summa, Assistant Public Defender, Tallahassee, for Appellant.
Pamela Jo Bondi, Attorney General, and Giselle Denise Lylen, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
Appellant challenges his conviction and sentence for lewd or lascivious molestation pursuant to section 800.04(5), Florida Statutes (2007). Appellant raises a number of issues. We find no merit as to any of the issues related to his conviction. We find merit as to one issue related to sentencing. We determine we are required to quash the sentence and remand for resentencing before a different judge pursuant to the dictates of Jackson v. State, 39 So. 3d 427 (Fla. 1st DCA 2010).
The sentence is quashed, and we remand for resentencing.
WOLF, PADOVANO, and ROWE, JJ., concur.
